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       VALLEY INVESTMENTS, LLC;
   8   PROMENADE SQUARE, LLC
   9

  10                       UNITED STATES DISTRICT COURT
  11                    SOUTHERN DISTRICT OF CALIFORNIA
  12

  13   BORREGO COMMUNITY HEALTH                CASE NO. 3:21-CV-01417-L-AGS
  14   FOUNDATION, a California non-
       profit public benefit corporation,      NOTICE OF RELATED CASES
  15                                           PURSUANT TO CIVLR 40.1
  16                Plaintiff,

  17   v.                                      Hon. M. James Lorenz
  18
       INLAND VALLEY INVESTMENTS,
  19   LLC, a California limited liability
  20   company; DRP HOLDINGS, LLC, a
       California limited liability company;
  21   PROMENADE SQUARE, LLC, a
  22   California limited liability company;
       WILL LIGHTBOURNE, Director,
  23   California Department of Healthcare
  24   Services; and DOES 1 through 50,
       inclusive,
  25

  26                Defendants.
  27

  28


                                      NOTICE OF RELATED CASES
       Complaint
                                                                                Case 3:21-cv-01417-AJB-AGS Document 14 Filed 11/16/21 PageID.879 Page 2 of 5



                                                                                   1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD, AND
                                                                                   2   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                                                                   3   THE SOUTHERN DISTRICT OF CALIFORNIA:
                                                                                   4         PLEASE TAKE NOTICE that the above-entitled action is related to a
                                                                                   5   Complaint in Unlawful Detainer filed by Defendant herein, Inland Valley
                                                                                   6   Investments, LLC (“Inland Valley”), against Plaintiff herein, Borrego Community
                                                                                   7   Health Foundation (“BCHF”), on or about November 5, 2021, in the Superior
                                                                                   8   Court of the State of California, for the County of San Bernardino, Civil Division,
                                                                                   9   Department S23-SBJC, the Honorable Donald Alvarez presiding. Specifically,
                                                                                  10   Inland Valley filed a case entitled Inland Valley Investments, LLC v. Borrego
                                                                                  11   Community Health Foundation, as Case No. LLT SB 2100009, to regain
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                                                                                  12   possession of commercial property located at 750 East Main Street, Barstow,
                                                                                       California 92311, to declare a forfeiture of the lease, and to recover unpaid rent
                                                          SAN DIEGO, CA 92106




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                                                                                  14   and other related damages (“Barstow Unlawful Detainer Action”).
                                                                                  15         PLEASE TAKE FURTHER NOTICE that the above-entitled action is also
                                                                                  16   related to a Complaint in Unlawful Detainer filed by Defendant herein, DRP
                                                                                  17   Holdings, LLC (“DRP Holdings”), against Plaintiff herein, BCHF, on or about
                                                                                  18   November 5, 2021, in the Superior Court of the State of California, for the County
                                                                                  19   of San Bernardino, Civil Division, Department S24-SBJC, the Honorable Gilbert
                                                                                  20   Ochoa presiding. Specifically, DRP Holdings filed a case entitled DRP Holdings,
                                                                                  21   LLC v. Borrego Community Health Foundation, as Case No. LLT SB 2100008, to
                                                                                  22   regain possession of commercial property located at 590 North D Street San
                                                                                  23   Bernardino, California 92401, to declare a forfeiture of the lease, and to recover
                                                                                  24   unpaid rent and other related damages (“San Bernardino Unlawful Detainer
                                                                                  25   Action”).
                                                                                  26         Defendants herein, Inland Valley and DRP Holdings, file this Notice of
                                                                                  27   Related Case pursuant to CivLR 40.1, subdivision (f). The Barstow Unlawful
                                                                                  28   Detainer Action is related to the instant case in that Inland Valley and BCHF are

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                                                                                   1   parties to both actions, and both actions concern the same commercial lease which
                                                                                   2   was executed on February 2, 2016. However, the Barstow Unlawful Detainer
                                                                                   3   Action is solely one for recovery of possession and past due rent under California’s
                                                                                   4   unlawful detainer statutes (Code of Civil Procedure § 1161 et seq.), based on
                                                                                   5   BCHF’s failure to make any rent payments since April 2021 and refusal to vacate
                                                                                   6   the premises. The Barstow Unlawful Detainer Action is between two California
                                                                                   7   business entities and is based entirely on California state law and the summary
                                                                                   8   proceedings available to landlords when possession is at issue.
                                                                                   9         Likewise, the San Bernardino Unlawful Detainer Action is related to the
                                                                                  10   instant case in that DRP Holdings and BCHF are parties to both actions and both
                                                                                  11   actions concern the same commercial lease which was executed on September 15,
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                                                                                  12   2015. The San Bernardino Unlawful Detainer Action is solely one for recovery of
                                                                                       possession and past due rent under California’s unlawful detainer statutes, based
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                                                                                  14   on BCHF’s failure to make any rent payments since April 2021 and refusal to
                                                                                  15   vacate the premises. The San Bernardino Unlawful Detainer Action is between
                                                                                  16   two California business entities and is based entirely on California state law and
                                                                                  17   the summary proceedings available to landlords when possession is at issue.
                                                                                  18         As a matter of law, neither the Barstow Unlawful Detainer Action nor the
                                                                                  19   San Bernardino Unlawful Detainer Action may properly be removed to federal
                                                                                  20   court. Federal district courts have original jurisdiction over a civil action when
                                                                                  21   (1) a federal question is presented in an action “arising under the Constitution,
                                                                                  22   laws, or treaties of the United States” or (2) there is complete diversity of
                                                                                  23   citizenship and the amount in controversy exceeds $75,000.           See 28 U.S.C.
                                                                                  24   §§ 1331, 1332. This Court may not exercise diversity jurisdiction over either the
                                                                                  25   Barstow Unlawful Detainer Action or the San Bernardino Unlawful Detainer
                                                                                  26   Action because the parties to each of those actions are California business entities.
                                                                                  27   The presence or absence of federal-question jurisdiction is governed by the well-
                                                                                  28   pleaded complaint rule, which provides that “federal jurisdiction exists only when

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                                                                                   1   a federal question is presented on the face of a plaintiff’s properly pleaded
                                                                                   2   complaint.” Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987).
                                                                                   3         Federal courts have no jurisdiction over unlawful detainer actions, which are
                                                                                   4   brought pursuant to state law and fall strictly within the province of the state court.
                                                                                   5   See, U.S. Bank National Assoc. v. Somo, No. 19-CV-2248-CAB-MSB, 2019 WL
                                                                                   6   6318511, *1 (S.D. Cal. Nov. 26, 2019) (remanding unlawful detainer action to
                                                                                   7   state court where plaintiff’s complaint asserted a single claim for unlawful detainer
                                                                                   8   under California state law); Muhammad v. N. Richmond Senior Hous., Inc., No.
                                                                                   9   15-CV-00629-WHO, 2015 WL 1154209, at *2 (N.D. Cal. Mar. 13, 2015)
                                                                                  10   (“California federal courts have repeatedly held that unlawful detainer cases
                                                                                  11   brought under California’s unlawful detainer statute do not raise federal
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                                                                                  12   questions.”); Fed. Nat’l. Mortg. Ass’n v. Enshiwat, No. 12-631 CAS (CWx), 2012
                                                                                       WL 683106, at *1 (C.D. Cal. Mar. 2, 2012) (“Unlawful detainer actions are strictly
                                                          SAN DIEGO, CA 92106




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                                                                                  14   within the province of state court.”) (quotations omitted). Further, a case may not
                                                                                  15   be removed to federal court on the basis of a federal defense. Caterpillar Inc., 482
                                                                                  16   U.S. at 393; see also Rivet v. Regions Bank of Louisiana, 522 U.S. 470, 475 (1998)
                                                                                  17   (“a case may not be removed to federal court on the basis of a federal defense, . . .
                                                                                  18   even if the defense is anticipated in the plaintiff’s complaint, and even if both
                                                                                  19   parties admit that the defense is the only question truly at issue in the case.”); and
                                                                                  20   Takeda v. NW Nat. Life Ins. Co., 765 F.2d 815, 821-22 (9th Cir. 1985)
                                                                                  21   (removability cannot be created by defendant pleading a counter-claim presenting
                                                                                  22   a federal question). Accordingly, neither the Barstow Unlawful Detainer Action
                                                                                  23   ///
                                                                                  24   ///
                                                                                  25   ///
                                                                                  26   ///
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                                                                                  28   ///

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                                                                                   1   nor the San Bernardino Unlawful Detainer Action may properly be removed to
                                                                                   2   federal court, nor otherwise be consolidated with the instant case.
                                                                                   3

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                                                                                       Dated: November 16, 2021          By: s/ John S. Kyle
                                                                                                                             John S. Kyle, Esq.
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                                                                                                                             DRP HOLDINGS, LLC; INLAND VALLEY
                                                                                   9                                         INVESTMENTS, LLC; and PROMENADE
                                                                                                                             SQUARE, LLC
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